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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF LOUISIANA—MONROE DIVISION

  PHILLIP CALLAIS, LLOYD PRICE,
  BRUCE ODELL, ELIZABETH ERSOFF,
  ALBERT CAISSIE, DANIEL WEIR,                Case No. 3:24-cv-00122-DCJ-CES-RRS
  JOYCE LACOUR, CANDY CARROLL
  PEAVY, TANYA WHITNEY, MIKE                  District Judge David C. Joseph
  JOHNSON, GROVER JOSEPH REES,                Circuit Judge Carl E. Stewart
  ROLFE MCCOLLISTER,                          District Judge Robert R. Summerhays

               Plaintiffs,                    Magistrate Judge Kayla D. McClusky

  v.

  NANCY LANDRY, in her official capacity as
  Secretary of State of Louisiana,

  Defendant.



          INTERVENOR-DEFENDANT’S MEMORANDUM OF LAW IN OPPOSITION
              TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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           INTERVENOR-DEFENDANT’S MEMORANDUM OF LAW IN OPPOSITION
               TO PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION1

          The world of litigation stemming from the intersection of §2 of the Voting Rights Act of

  1965 (“VRA”) and of the Fourteenth Amendment has been in turmoil for years. The Supreme

  Court’s recent decision in Allen v. Milligan, 599 U.S. 1 (2023), did little to resolve the tension between

  the constitutional command not to take government action on the basis of race and the statutory

  requirement—as interpreted by the Supreme Court—to take government action on the basis of

  race. See Abbott v. Perez, 138 S. Ct. 2305, 2315 (2018) (“Since the Equal Protection Clause restricts

  consideration of race and the VRA demands consideration of race, a legislature attempting to

  produce a lawful districting plan is vulnerable to ‘competing hazards of liability.’” (quoting Bush v.

  Vera, 517 U.S. 952, 977 (1996) (O’Connor, J., plurality op.))). That tension is squarely implicated

  here.

          Under these circumstances, Plaintiffs cannot carry their burden of showing that the passage

  of SB 8 (or, the “New Law”) violated the Constitution. Section 2 of the VRA has always lived in

  tension with the Fourteenth and Fifteenth Amendments. See Abbott, 138 S. Ct. at 2315 (referring to

  the competing demands of the VRA and Fourteenth Amendment as a “legal obstacle course”).

  The former generally mandates that a map-drawing body consider race during the drafting

  process, and the latter generally prohibits the very same consideration. Id. (quoting Vera, 517 U.S.

  at 977 (O’Connor, J., plurality op.)). This was the needle that the Louisiana Legislature was forced




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   Counsel for the State conferred with counsel for Secretary Landry this morning pursuant to this Court’s Order at
  ECF No. 79. Given that the State’s Response is due the same day that the Court granted its intervention, the parties
  conferred and have made every effort to avoid duplicative argument.


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  to thread when it passed SB 8—and it did so successfully by complying with both the VRA and

  the Constitution.

          Specifically, the State had every reason in the world to believe that race-conscious

  redistricting was required by § 2 of the VRA—namely, a preliminary injunction from the Middle

  District of Louisiana against HB 1 (or, the “Old Law) mandating the creation of a second majority-

  Black district. See generally Robinson v. Ardoin, 605 F. Supp. 3d 759 (M.D. La. 2022). Moreover,

  although it vacated that injunction on procedural grounds, the Fifth Circuit went out of its way to

  approve the merits portion of the district court’s preliminary-injunction analysis. See Robinson v. Ardoin,

  86 F.4th 574, 583–84 (5th Cir. 2023) (holding that the district court did not err in its finding that

  plaintiffs were likely to succeed on the merits of their § 2 claim against the Old Law). In so doing,

  the Fifth Circuit gave the Louisiana Legislature a narrow window of time to either (1) adopt a new

  law or (2) decline to do so and proceed to a trial on the merits of the Old Law. Id. at 601–02.

          With that writing on the wall, the Governor answered the federal courts’ directives by

  calling a special session, and the Legislature passed SB 8—a new congressional map containing a

  second majority-Black district. The State, of course, never intended to dilute the votes of non-Black

  Louisianans. Instead, the State’s overwhelming interest was in (a) complying with combined

  decisions from the Middle District and Fifth Circuit while (b) maintaining the State’s constitutional

  prerogative to draw its own congressional districts, as opposed to having a federal court usurp that

  power from Louisianans’ elected representatives. See Miller v. Johnson, 515 U.S. 900, 934–35 (1995)

  (Ginsburg, J., dissenting) (“[F]ederalism and the slim judicial competence to draw district lines

  weigh heavily against judicial intervention in apportionment decisions; as a rule, the task should

  remain within the domain of state legislatures.”). The New Law thus not only satisfies strict scrutiny

  but also was the best result that could be achieved for Louisianans given the current state of § 2




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  jurisprudence—at least as far as the federal judiciary has applied it to Louisiana in the post-Milligan

  legal regime. Consequently, Plaintiffs’ claims fail.

                                           INTRODUCTION

         This case arises out of the State of Louisiana’s efforts to redistrict its congressional districts

  following the decennial census. In February of 2022, the Louisiana Legislature passed HB 1 and

  SB 5, enacting new congressional districts. Then-Governor Edwards vetoed the bills in March of

  2022, but the Legislature overrode his veto, and the congressional district map created by HB 1

  went into effect. Litigation followed.

         Two separate complaints challenged HB 1 under § 2 of the VRA. These complaints were

  consolidated. See Complaint, Robinson v. Ardoin, No. 3:22-cv-211 (M.D. La. Mar. 30, 2022), ECF

  No. 1, consolidated with Complaint, Galmon v. Ardoin, No. 3:22-cv-214 (M.D. La Mar. 30, 2022), ECF

  No. 1. The State, as well as the then-Speaker and then-President Pro Tempore of the Louisiana

  Legislature, intervened. Robinson v. Ardoin, No. 3:22-cv-211, 2022 WL 1154607 (W.D. La. Apr. 19,

  2022). The plaintiffs filed motions for preliminary injunctions. After expedited briefing and a

  hearing, the United States District Court for the Middle District of Louisiana granted a preliminary

  injunction enjoining Louisiana’s congressional map. See generally Robinson, 605 F. Supp. 3d 759. This

  order was subsequently stayed by the United States Supreme Court while Milligan was pending

  and then later returned to the lower courts following the Supreme Court’s Milligan decision.

         The State appealed the preliminary-injunction ruling to the Fifth Circuit. Although the

  Fifth Circuit denied a stay pending appeal, see Robinson v. Ardoin, 37 F.4th 208, 215 (5th Cir. 2022),

  the Supreme Court granted one. See Ardoin v. Robinson, 142 S. Ct. 2892 (2022). After the Supreme

  Court lifted the stay, see Ardoin v. Robinson, 143 S. Ct. 2654 (2023), the Fifth Circuit held that the

  district court had not erred in concluding that the plaintiffs were likely to succeed on the merits of

  their § 2 challenge to HB1. Robinson, 86 F.4th at 583. But the Fifth Circuit also vacated the district


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  court’s preliminary injunction on procedural grounds and gave the Legislature an opportunity to

  enact a new congressional districting map; if the Legislature did not enact a new map, the case

  would proceed to trial on the merits of the Old Law. See id. at 601–02.

         In the wake of the Fifth Circuit’s decision, the new Governor of Louisiana, Jeff Landry,

  called a special legislative session to consider enacting a new congressional districting map. The

  Legislature introduced and passed SB 8. The New Law created a new congressional districting

  map with a second majority-Black district, which, according to the district court and Fifth Circuit,

  was required by the VRA. On January 22, 2024, Governor Landry signed SB 8 into law.

         Nine days later, Plaintiffs filed their Complaint alleging that the New Law violated

  Plaintiffs’ Fourteenth and Fifteenth Amendment rights. See ECF No. 1. The State moved to

  intervene, which this Court granted. See ECF No. 53; see also ECF No. 79. On February 7, 2024,

  Plaintiffs filed a Motion for Preliminary Injunction, seeking to enjoin the implementation of the

  New Law and to order the Louisiana Secretary of State to implement Plaintiffs’ own remedial

  congressional map. See ECF No. 17. Two weeks later, this Court issued a Scheduling Order setting

  April 8–9, 2024, as trial dates for a “Preliminary Injunction Hearing Combined with Trial on the

  Merits.” ECF No. 63 (capitalization normalized).

                                        LEGAL STANDARD

       Under Federal Rule of Civil Procedure 65, “[b]efore or after beginning the hearing on a

  motion for a preliminary injunction, the court may advance the trial on the merits and consolidate

  it with the hearing.” Fed. R. Civ. P. 65(a)(2). The Court consolidated Plaintiffs’ requested

  Preliminary Injunction with a trial on the merits. ECF No. 63 at 1. This consolidation resulted




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  from Plaintiffs’ Motion for a Case Management Conference and Expedited Schedule, ECF No. 43

  at 2, which the Secretary did not oppose, and neither does the State.

          The permanent injunction standard is “applicable when the court ‘advance[s] the trial on

  the merits and consolidate[s] it with the hearing’ on a motion for preliminary injunction.” Mont.

  Med. Ass'n v. Knudsen, 591 F. Supp. 3d 905, 912 (D. Mont. 2022) (quoting Fed. R. Civ. P. 65(a)(2));

  see also Advance'd Temporaries, Inc. v. A.L. Expansion Inc., 108 F.3d 333 (5th Cir. 1997) (affirming where

  “[t]he district court consolidated [a] motion for preliminary injunction with the trial on the merits

  pursuant to Fed. R. Civ. P. 65(a)(2)” and “[a] bench trial ensued,” whereafter “the district court

  entered judgment imposing a permanent injunction”); Fund for Las. Future v. La. Bd. of Ethics, 17 F.

  Supp. 3d 562, 568 (E.D. La. 2014) (explaining that a permanent injunction is the appropriate

  standard where a full merits trail has occurred, including one conducted under Rule 65(a)(2)).

          To obtain a permanent injunction, a plaintiff must demonstrate “(1) actual success on the

  merits; (2) that it is likely to suffer irreparable harm in the absence of injunctive relief; (3) that the

  balance of equities tips in that party's favor; and (4) that an injunction is in the public interest.”

  Crown Castle Fiber, L.L.C. v. City of Pasadena, 76 F.4th 425, 441 (5th Cir. 2023). Additionally, the third

  and fourth factors are merged here, as the State is an opposing party. See Nken v. Holder, 556 U.S.

  418, 420 (2009) (“The third and fourth factors, harm to the opposing party and the public interest,

  merge when the Government is the opposing party.”).

          Although the standard for seeking a permanent injunction largely mirrors the preliminary

  injunction standard, the key difference for a permanent injunction is that a plaintiff must

  demonstrate actual success on the merits, not just a likelihood of success. Lionhart v. Foster, 100 F. Supp.

  2d 383, 385–86 (E.D. La. 1999). Because Plaintiffs must first demonstrate actual success on the

  merits, the State’s briefing addresses the merits separate from the remaining permanent injunction




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  analysis and addresses the equitable arguments in the context of any potential remedial-phase or

  pre-2024-election injunction along with its Purcell arguments.

                                                ARGUMENT

            Both of Plaintiffs’ claims fail. First, Plaintiffs’ racial gerrymandering claim fails on strict-

      scrutiny review because the State had every reason to believe that, at the time it enacted the New

      Law, the VRA—by the federal judiciary’s own lights—required racially conscious districting. To

      be sure, the State vehemently disagreed and defended the Old Law. But the courts saw things

      differently. Indeed, the Middle District’s merits analysis, affirmed by the Fifth Circuit, mandated

      a second majority-Black district, or else the State’s failure to do so would illegally dilute Black

      voting strength under the VRA. See generally Robinson, 605 F. Supp. 3d 759. Because the State

      thereafter sensibly complied, strict scrutiny is easily satisfied here.

            Second, Plaintiffs’ discriminatory intent claim fails because Plaintiffs cannot rebut the

      presumption of good faith afforded to legislative action. Here, the Legislature expressed a desire

      (1) to comply with court opinions mandating (under the VRA) the use of race consciousness to

      implement a second majority-Black congressional district in Louisiana and (2) to maintain its

      constitutional role in redistricting by redrawing Louisiana’s congressional map, as opposed to

      having a court-drawn map imposed on the State. Neither reason shows that racial discrimination

      was the intent—as opposed to the unsought consequence—of the Legislature’s attempt to conform

      Louisiana’s laws to the courts’ directives. Indeed, “fundamental concerns of federalism mandate

      that states be given some leeway so that they are not trapped between [the Fourteenth

      Amendment and VRA’s] competing hazards of liability.” Vera, 517 U.S. at 977 (O’Connor, J.,

      plurality op.). For that reason alone, Plaintiffs’ racial intent claim is meritless.

            In all events, moreover, there is no reason to rush proceedings: Even if the Court were to

      find for Plaintiffs, the Purcell doctrine would preclude the implementation of any remedial map


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      prior to the November 2024 election. Rushing to remedial proceedings would generate massive

      voter confusion and require the State to come up with a third congressional districting map in

      2024 alone, all on the eve of an election. This is exactly what Purcell prevents. Thus, even if

      Plaintiffs suffer harm from SB 8, the State would be entitled to a non-illusory amount of time to

      remedy such harm, see In re Landry, 83 F.4th 300, 304 (5th Cir. 2023), and to do so in a way that

      does not throw the entire 2024 election into chaos, Purcell v. Gonzalez, 549 U.S. 1, 4–5 (2006)—

      which cannot actually happen in time for the November 2024 election. Because no remedy (if

      one were even needed) could be implemented for this election cycle, Purcell counsels in favor of

      litigation in the ordinary course, not breakneck speed.

       I.      BOTH OF PLAINTIFFS’ CLAIMS FAIL ON THE MERITS.

                A. Plaintiffs’ Racial Gerrymandering Claim Fails in Light of Robinson.

             To prevail on their claims, Plaintiffs must satisfy a demanding burden of proof and

  overcome a strong presumption of good faith afforded to the State. Plaintiffs fail on both accounts.

  “Whenever a challenger claims that a state law was enacted with discriminatory intent, the burden

  of proof lies with the challenger, not the State.” Abbott, 138 S. Ct. at 2311 (citing Reno v. Bossier Par.

  Sch. Bd., 520 U. S. 471, 481(1997)). Additionally, “[i]n redistricting cases, the ‘good faith of [the]

  state legislature must be presumed.” Id. (citing Miller, 515 U.S. at 915).

             Courts undertake a “two-step analysis” when evaluating whether a districting map is an

  impermissible racial gerrymander pursuant to the Fourteenth Amendment. Cooper v. Harris, 581

  U.S. 285, 291 (2017). The first step requires the plaintiff to “prove that race was the predominant

  factor motivating the legislature’s decision to place a significant number of voters within or without

  a particular district.” Id. (internal citations omitted). The second step requires that, “if racial

  considerations predominated over others, the design of the district must withstand strict scrutiny.”

  Cooper, 581 U.S. at 292. In this step, the State has the burden to demonstrate that “its race-based


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  sorting of voters serves a compelling interest and is narrowly tailored to that end.” Id. (internal

  citations omitted). Courts have consistently presumed that complying with the VRA constitutes a

  “compelling interest.” Id. To fulfill the “narrowly tailored” requirement, the State must show “that

  it had ‘a strong basis in evidence’ for concluding that the statute required its action.” Id. (internal

  citations omitted).

          Importantly, the “strong basis in evidence” standard does not require that the State be

  completely certain that a contested map constitutes a violation of the VRA before implementing

  changes. (Of course, the State itself vigorously, but ultimately unsuccessfully, disputed that no such

  violation existed.) Rather, this standard “gives States ‘breathing room’ to adopt reasonable

  compliance measures that may prove, in perfect hindsight, not to have been needed.” Id. at 293

  (citing Bethune-Hill v. Va. State Bd. of Elections, 580 U.S. 178, 195–96 (2017)). In essence, the inquiry

  is not whether the VRA actually requires a second majority-Black district, but rather, whether the

  Legislature had “good reason to believe” the VRA, as interpreted by the federal courts, required

  the second majority-Black district at the time the Legislature drew the map.

          Here, the State can easily demonstrate that “it had ‘a strong basis in evidence’ for

  concluding that the” VRA “required its action,” see id. at 292 (quoting Ala. Legis. Black Caucus v.

  Alabama, 575 U.S. 254, 278 (2015)), because both the Middle District and Fifth Circuit insisted it

  did. Further, the evidence shows that the State “actual[ly] consider[ed]” whether the VRA

  required another majority-Black district and had a “strong basis in evidence” for determining that

  “all the Gingles preconditions were met.” See id. at 301–02 (quoting Vera, 517 U.S. at 978 (O’Connor,

  J., plurality op.). Plaintiffs’ contention that the State did not engage in “a strong showing of a pre-

  enactment analysis with justifiable conclusions,” ECF No 17-1 at 32 (citing Abbott, 138 S. Ct. at

  2335), completely ignores the procedural history behind the New Law. That history demonstrates

  that the Robinson district court and the Fifth Circuit considered the Old Law and found that


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  Plaintiffs were likely to succeed on the merits of their VRA challenge. Plaintiffs’ contention also

  ignores the battle of the experts that occurred in the Robinson district court before the court

  concluded that the VRA likely mandated creation of a second majority-Black district. It is hard to

  imagine a “strong[er] basis in evidence,” Cooper, 581 U.S. at 301–02 (quoting Vera, 517 U.S. at 978

  (O’Connor, J., plurality op.)), than a district court decision, which was premised on competing

  experts and affirmed on the merits by the Fifth Circuit.

         Similarly unpersuasive is Plaintiffs’ citing of the State’s arguments from the preliminary

  injunction proceeding in Robinson. See ECF No. 1 at 8–9. While the State argued that the Old Law

  did not violate § 2, the Robinson district court rejected these arguments, and the Fifth Circuit blessed

  that rejection in a unanimous panel decision (which that court declined to rehear en banc). Much

  as the State might disagree with that outcome, it is the courts’ opinion that carries the day—not

  the losing party’s arguments. Accordingly, the State enacted the New Law on the directive of the

  Robinson district court’s opinion and the Fifth Circuit panel’s opinion substantively affirming it.

         Moreover, Plaintiffs’ complaint that “[t]he [Robinson] case never advanced to the merits”

  does not move the needle for them. Id. at 9. Indeed, their argument blinks reality of the district

  court’s preliminary injunction reasoning on the merits factor, which the Fifth Circuit unanimously

  affirmed. The State was not required to sit back and wait for the ministerial entry of a final

  judgment on the merits when the judicial writing was already on the wall. Rather, the Supreme

  Court has held that the States must be given “‘breathing room’ to adopt reasonable [§ 2]

  compliance measures” even if, “in perfect hindsight,” such measures are later considered

  unnecessary. Cooper, 581 U.S. at 292 (quoting Bethune, 580 U.S. at 195–96). Put differently, the

  inquiry is not about what the VRA actually requires, but what the State had a strong basis to believe it




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  required. See supra p. 8. And that standard is easily satisfied here in light of the district court’s and

  Fifth Circuit’s decisions.

              B. Plaintiffs’ Discriminatory Intent Claim Fails Because the State
                  Undisputedly Sought to Comply with Court Orders While Maintaining
                  Its Constitutionally Delegated Role in Redistricting.

          Plaintiffs face (and fail to satisfy) a heavy burden of proof on their intentional-discrimination

  claim as well. Again, to prevail on their intentional-discrimination claim, Plaintiffs must overcome

  that fact that, “[i]n redistricting cases, the ‘good faith of [the] state legislature must be presumed.”

  Abbott, 138 S. Ct. at 2311 (citing Miller, 515 U. S. at 915). This requires them to prove that “a

  discriminatory purpose has been a motivating factor in the decision” to adopt the New Law. Village

  of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 265–66 (1977). And “[w]here the court

  is asked to identify the intent of an entire state legislature, as opposed to a smaller body, the charge

  becomes proportionately more challenging.” Veasey v. Abbott, 830 F.3d 216, 233 (5th Cir. 2016).

          As an initial matter, the Arlington Heights standard does not apply to redistricting because its

  central inquiry (racial intent) is already subsumed in the Shaw standard for racial gerrymandering

  claims (addressing whether race was predominant in the drawing of the map). Compare Arlington

  Heights, 429 U.S. at 266 (“Determining whether invidious discriminatory purpose was a motivating

  factor demands a sensitive inquiry into such circumstantial and direct evidence of intent as may be

  available.”), with Shaw v. Hunt, 517 U.S. 899, 905 (1996) (“The plaintiff bears the burden of proving

  the race-based motive and may do so either through ‘circumstantial evidence of a district's shape

  and demographics’ or through ‘more direct evidence going to legislative purpose.’” (quoting Miller,

  515 U.S. at 916)). Both claims center on the racial intent, or lack thereof, of the map drawer. Thus,




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  an Arlington Heights (racial intent) claim—when brought with a Shaw (racial gerrymandering)

  claim—is at best redundant and at worst totally inapplicable in the redistricting context.

           Even if Arlington Heights applies here, “‘[d]iscriminatory purpose’ . . . implies more than

  intent as volition or intent as awareness of consequences . . . . It implies that the decisionmaker . . .

  selected or reaffirmed a particular course of action at least in part ‘because of,’ not merely ‘in spite

  of,’ its adverse effects upon an identifiable [minority] group.” Pers. Adm’r of Mass. v. Feeney, 442 U.S.

  256, 279 (1979) (internal citation omitted); accord Veasey, 830 F.3d at 231 (relying on Feeney in

  considering a discriminatory intent claim under § 2 and recognizing that “[l]egislators’ awareness

  of a disparate impact on a protected group is not enough: the law must be passed because of that

  disparate impact”); N.C. State Conf. of NAACP v. McCrory, 831 F.3d 204, 220 (4th Cir. 2016) (similar);

  see also Hunter v. Underwood, 471 U.S. 222, 228 (1985) (“Proving the motivation behind official action

  is often a problematic undertaking.”). Plaintiffs have not met their burden to prove discriminatory

  purpose under this demanding standard.

           As explained above, it is clear that the Legislature, in passing the New Law, sought (1) to

  comply with the VRA as interpreted in the Robinson litigation and (2) to maintain its constitutionally

  delegated role in redistricting. See supra § I.A. Indeed, the Governor himself, in calling the Special

  Session that resulted in the New Law, explained that he wanted to take the districting process out

  of the hands of the Middle District and place it back with Louisiana’s duly elected representatives.2

  Plaintiffs’ claim that supposed legislative intent to create a second majority-Black district “alone

  prove[s] discriminatory intent” thus fails; VRA compliance as interpreted in Robinson—not racial


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  2 Governor Jeff Landry Opens First Special Session on Court Ordered Redistricting, Office of the Governor (Jan. 16, 2024)

  https://gov.louisiana.gov/news/governor-jeff-landry-opens-first-special-session-on-court-ordered-redistricting (“We
  are here today because the Federal Courts have ordered us to perform our job … These maps will satisfy the Court and
  ensure that the congressional districts of our State are made right here in the Legislature and not by some heavy-
  handed member of the Federal Judiciary. We do not need a federal judge to do for us what the people of Louisiana
  have elected YOU to do. You are the voice of the people.”) (cleaned up).


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  gerrymandering for its own sake without adequate justification—was the driving motivation

  behind the New Law. ECF No. 17-1 at 35.

             Here, Plaintiffs are required to show that the intent of creating a second majority-Black

  district was to discriminate on the basis of race and not merely a resulting consequence. Arlington

  Heights, 429 U.S. 265–66; McCrory, 831 F.3d at 220. And Plaintiffs give only the shortest shrift to

  the notion that VRA compliance satisfies strict scrutiny. See ECF No. 17-1 at 36 n.4 (spending one

  footnote to address the fact that a good faith effort to comply with the VRA is sufficient to satisfy

  struct scrutiny).

             To reiterate, the State complied with what the Fifth Circuit and Middle District said the

  VRA required here—namely, the creation of a second majority-Black district. This is enough to

  satisfy strict scrutiny, supra § I.A., and Plaintiffs have not shown that the State’s desired VRA

  compliance was pretextual. Put differently, Plaintiffs have failed to rebut the presumption of

  legislative good faith. Miller, 515 U.S. at 916. Thus, just as their Shaw claim failed, so too does their

  Arlington Heights claim.

      II.      IN ALL EVENTS, THE PURCELL DOCTRINE PRECLUDES THE ENACTMENT OF A
                REMEDIAL MAP BEFORE THE NOVEMBER 2024 ELECTION.

             Even if the Court were inclined to grant Plaintiffs’ request for a preliminary injunction,

  moreover, that fact would have no bearing on the November 2024 election. That is because the

  Purcell doctrine prohibits the injunction of the New Law and subsequent implementation of another

  revised districting map prior to the 2024 elections. In Purcell, the Supreme Court emphasized that

  “[c]ourt orders affecting elections, especially conflicting orders, can [] result in voter confusion and

  consequent incentive to remain away from the polls. As an election draws nearer, that risk will

  increase.” 549 U.S. at 4–5 (emphasis added). This doctrine “not only prevents voter confusion but

  also prevents election administrator confusion,” DNC v. Wis. State Legis., 141 S. Ct. 28, 31 (2020)



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  (Kavanaugh, J., concurring), as state and local officials “need substantial time to plan for elections”

  and handle “significant logistical challenges,” Merrill v. Milligan, 142 S. Ct. 879, 880 (2022)

  (Kavanaugh, J., concurring). For this reason, the Supreme Court “has repeatedly stated that federal

  courts ordinarily should not enjoin a state’s election laws in the period close to an election, and []

  has often stayed lower federal court injunctions that contravene that principle.” Id.

          If any court order “affecting elections” can result in voter confusion in the run-up to an

  election, then a total of three congressional maps on the books in 2024 alone would certainly

  produce rampant voter confusion throughout the State. Specifically, the courts have already forced

  the State to abandon its Old Law (Map Number One) and enact the New Law (Map Number

  Two). Any further changes to the State’s districting composition (Map Number Three)—just

  months from Election Day—would inevitably result in chaos and voter confusion. Put plainly,

  three maps is a recipe for voter confusion and disenfranchisement.

          Not only that, but it also would be a logistical nightmare (and perhaps impossibility) for the

  State to undergo another redistricting map process this year. The Court has scheduled a trial for

  April 8–9, 2024. ECF No. 63 at 1. Assuming this three-judge Panel completed the herculean feat

  of issuing a ruling, say, 45 days after that trial concluded—including any possible dissenting or

  concurring opinions—that would mean the earliest the Louisiana Legislature could be notified of

  the need to enact a remedy would be May 26, 2024. But the Regular Legislative Session ends, at

  the latest, on June 3, 2024. See 2024 Sessions Information, Louisiana State Legislature (last visited Feb.

  18, 2024) https://legis.la.gov/legis/home.aspx (“The 2024 Regular Legislative Session will

  convene at noon on Monday, March 11, 2024. Final Adjournment no later than 6:00 pm on

  Monday, June 3, 2024.”). Consequently, the Legislature would have eight days to enact a new

  map, which is not the sort of reasonable amount of time to which a State is entitled. See In re Landry,

  83 F.4th at 306 (granting the State’s petition for a writ of mandamus where “the district court


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  prescribed an impossibly short timetable for [remedial] state legislative action amounting to only

  five legislative days”).

           Moreover, the congressional candidate qualifying period begins on July 17, 2024, see La.

  R.S. § 18:467(2), followed by the 2024 Louisiana congressional primary elections on November 5,

  2024. The Secretary is on record—in testimony before the legislature, before the Middle District,

  and before the Fifth Circuit—explaining that final congressional maps must be set by the middle of

  May (i.e., before even a reasonable time for the Court to enter its liability decision) to meet statutory

  deadlines, ensure implementation in the State’s voter registration systems, and enable voters to be

  properly assigned to new districts.3 If the New Law is struck down, the State would not be able to

  comply with its statutory implementation duties and deadlines, and for that additional reason, voter

  confusion and candidate confusion inevitably would ensue.

           The burden is on Plaintiffs to show that their requested preliminary injunction and

  remedial map would not result in widespread confusion. See Grace, Inc. v. City of Miami, 2023 U.S.

  App. LEXIS 20292, at *7–8 (11th Cir. Aug. 4, 2023) (“Because of the [State]’s ‘extraordinarily

  strong interest in avoiding late, judicially imposed changes to its election laws,’ the plaintiffs must

  make the showing that the remedial plan is feasible without significant costs, confusion, or




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  Just this month, a district court in Montana ordered new elections for two city council districts where local officials
  did not properly place voters in the correct city council districts. See e.g.
  https://montanafreepress.org/2024/02/22/flathead-county-kalispell-city-council-election-redo-decision/ (Visited
  February 25, 2024).


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  hardship.”); see also id. (“[T]he absence of chaos is hardly acceptable under Purcell.”). Plaintiffs fail

  to meet this burden.

      III.   PLAINTIFFS WILL NOT SUFFER IRREPARABLE HARM IF INJUNCTIVE RELIEF IS
              DELAYED.

          Plaintiffs have also failed to establish likely irreparable harm. Plaintiffs cannot claim

  “general” harm as a result of the New Law because “proper application of the Constitution and

  laws, and seeking relief that no more directly tangibly benefits [the plaintiffs] than it does the public

  at large[,] does not state an Article III case or controversy.” Lujan v. Defenders of Wildlife, 504 U.S.

  555, 574 (1992). As such, these five Plaintiffs cannot establish the harm—let alone the requisite

  “irreparable harm”—needed to obtain injunctive relief. Although the Plaintiffs may contend that

  “the loss of constitutional freedoms . . . ‘unquestionably constitutes irreparable injury,’” Holdings,

  LLC v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)),

  there is no proof of any such loss for the five named plaintiffs.

      THE BALANCE OF EQUITIES AND PUBLIC INTEREST WEIGH AGAINST PLAINTIFFS.

          The balance of equities and public interest—which merge here, see supra pp. 5–6—disfavor

  injunctive relief, particularly for the 2024 election cycle.

          First, “[s]tates have not only an interest, but also a duty to ensure that the electoral process

  produces order rather than chaos.” Libertarian Party v. Rednour, 108 F.3d 768, 774 (citing Storer v.

  Brown, 415 U.S. 724, 729 (1974)); accord Timmons v. Twin Cities Area New Party, 520 U.S. 351, 364

  (1997) (recognizing the states’ “‘compelling’ interests in avoiding voter confusion, preserving the

  integrity of the election process, and maintaining a stable political system.”); Pisano v. Strach, 743




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  F.3d 927, 937 (4th Cir. 2014) (“Indeed, states have an interest ‘in ensuring orderly, fair, and

  efficient procedures for the election of public officials.’” (citation omitted)).

          And the public has a strong interest in having finalized, VRA-compliant district maps for

  the 2024 election. The Supreme Court acknowledged this interest when it denied the State’s

  request for a stay of the remedial process, stating that it had “previously emphasized” that the

  Robinson “litigation should be resolved ‘in advance of the 2024 congressional elections in

  Louisiana.’” Robinson v. Ardoin, No. 23A281, 2023 WL 6886438, at *1 (U.S. Oct. 19, 2023) (Jackson,

  J., concurring) (citing Ardoin v. Robinson, 143 S. Ct. 2654 (2023)). Thus, even if a preliminary

  injunction were supplemented by a court-ordered remedial map, as Plaintiffs urge, the balance of

  equities still weighs in the State’s favor because it is the role of the State Legislature—and not the

  courts—to enact districting maps. Chapman v. Meier, 420 U.S. 1, 27 (1975).

          An injunction at this point—less than 150 days before the congressional candidate

  qualifying period, which begins on July 17, 2024, see La. R.S. § 18:467(2)—would throw Louisiana’s

  districting maps and elections into chaos. This would create widespread confusion among voters

  and candidates, disrupt the electoral process, and potentially undermine public trust in the fairness

  of the elections. The logistical challenges of implementing new laws and the likelihood of legal

  battles would compound that chaos further.

          To provide timeline context, the Louisiana Legislature’s regular session does not convene

  until March 11, 2024, and concludes, at the latest, on June 3, 2024, which would be the first

  opportunity for the Legislature to consider drafting a third new congressional map in as many years.

  See https://legis.la.gov/legis/home.aspx. The Supreme Court has recognized that the Legislature

  unequivocally maintains the duty of enacting districting maps. See Miller, 515 U.S. at 915; Chapman,

  420 U.S. at 27 (“Federal-court review of districting legislation represents a serious intrusion on the




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  most vital of local functions. It is well settled that ‘reapportionment is primarily the duty and

  responsibility of the State.’” (quoting Chapman, 420 U.S. at 27)).

          Given the requisite meetings, drafting period, and legislative voting period, the Legislature

  would be pressed with the impossible task of producing a new map in time to be used for the 2024

  elections. See In re Landry, 83 F.4th at 307–08 (“If this were ordinary litigation, this court would be

  most unlikely to intervene in a remedial proceeding for a preliminary injunction. Redistricting

  litigation, however, is not ordinary litigation. Of course, the law as set forth by the Supreme Court's

  interpretation of the Constitution and section 2 must be vindicated. But the remedy necessarily

  involves the exercise of discretion by federal courts whose judgments will interfere with a primary

  constitutional structural device of self-government: making decennial districting choices about

  representation in legislative bodies.”).

          In sum, an injunction prior to the 2024 elections would wreak havoc on the 2024 elections

  in Louisiana and threaten voting rights statewide. Thus, the loss of voting rights and orderly

  elections would come as a result of granting a preliminary injunction, rather than as a result of denying

  it. The absence of a preliminary injunction would prevent harm to all Louisiana voters.

  Consequently, the balance of the equities weighs in favor of denying the preliminary injunction.

          Second, the public interest also strongly favors maps drawn by the people’s elected

  representatives and not judicially enacted legislative maps. “Federal-court review of districting

  legislation represents a serious intrusion on the most vital of local functions. It is well settled that

  ‘reapportionment is primarily the duty and responsibility of the State.’” Miller, 515 U.S. at 915

  (quoting Chapman, 420 U.S. at 27). In fact, “[t]he [Supreme] Court has repeatedly held that

  redistricting and reapportioning legislative bodies is a legislative task which the federal courts

  should make every effort not to pre-empt.” Wise v. Lipscomb, 437 U.S. 535, 539 (1978) (citing Connor

  v. Finch, 431 U.S. 407, 414–15 (1977)). “When a federal court declares an existing apportionment


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  scheme unconstitutional, it is therefore appropriate, whenever practicable, to afford a reasonable

  opportunity for the legislature to meet constitutional requirements by adopting a substitute

  measure rather than for the federal court to devise and order into effect its own plan.” Id. at 540;

  see also Reynolds, 377 U.S. at 586 (“[L]egislative reapportionment is primarily a matter for legislative

  consideration and determination, and . . . judicial relief becomes appropriate only when a

  legislature fails to reapportion according to federal constitutional requisites in a timely fashion after

  having had an adequate opportunity to do so.”). But rather than request that this Court follow

  Supreme Court precedent, Plaintiffs instead ask this Court to issue a court-ordered “remedial map”

  to “carry out the elections.” ECF No. 17-1 at 40. This is plainly against the public interest.

                                      *       *       *        *

          In sum, a permanent injunction of the New Law in advance of the 2024 election would

  create an impossible challenge for the State to carry out congressional elections, leaving no secure

  path for the State to navigate between conflicting federal court directives. Both the Purcell doctrine

  and the ordinary preliminary-injunction factors thus cut against Plaintiffs’ request for an

  injunction.

                                             CONCLUSION

          For the reasons set forth herein, the State respectfully requests that the Court deny the

  Plaintiffs’ Motion for Preliminary Injunction. Alternatively, if the Court is inclined to grant

  Plaintiffs’ request, the State requests that the Court delay implementation of any new map until

  after the 2024 election cycle concludes.



  Dated: February 27, 2024                                Respectfully Submitted,

   Jason B. Torchinsky (DC 976033)*                       /s/ Morgan Brungard
   Phillip M. Gordon (DC 1531277)*                        Morgan Brungard (LSBA No. 40298)


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   Brennan A.R. Bowen (AZ 036639)*
   Holtzman Vogel Baran                  Deputy Solicitor General
   Torchinsky & Josefiak, PLLC           Office of the Attorney General
   15405 John Marshall Highway           Louisiana Department of Justice
   Haymarket, VA 20169                   1885 N. Third St.
   (540) 341-8808 phone                  Baton Rouge, LA 70804
   (540) 341-8809 fax                    (225) 326-6000 phone
   jtorchinsky@holtzmanvogel.com         (225) 326-6098 fax
   pgordon@holtzmanvogel.com             BrungardM@ag.louisiana.gov
   bbowen@holtzmanvogel.com
                                         Counsel for Intervenor-Defendant State of Louisiana
   * pro hac vice motion forthcoming



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                                  CERTIFICATE OF SERVICE

         I do hereby certify that, on this 27th day of February 2024, the foregoing was electronically

  filed with the Clerk of Court using the CM/ECF system, which gives notice of filing to all counsel

  of record.



                                         /s/ Morgan Brungard
                                         Morgan Brungard




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